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         EXHIBIT C
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                                                          Home Confinement        Filed
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                            Frequently Asked Questions regarding potential inmate home
                                con nement in response to the COVID-19 pandemic.

       Given the surge in positive cases at select sites and in response to the Attorney General Barr's directives, the BOP began
       immediately reviewing all inmates who have COVID-19 risk factors, as described by the CDC, to determine which inmates are
       suitable for home con nement. Since the release of the Attorney General's original memo to the Bureau of Prisons on
       March 26, 2020 instructing us to prioritize home con nement as an appropriate response to the COVID-19 pandemic, the
       BOP has signi cantly increased its placement of o enders on home con nement. Currently, the BOP has 7,861 inmates on
       home con nement. The total number of inmates placed in home con nement from March 26, 2020 to the present (including
       inmates who have completed service of their sentence) is 20,221 .



          Eligibility requirements
                                                  +     What are the eligibility requirements for an inmate to be considered for Home
                                                        Con nement under the CARES Act and the Attorney General Guidelines?
         Providing Assistance



         Inmates in RDAP
                                                  +     If an incarcerated individual does not qualify for Home Con nement under the CARES
                                                        Act, is there any other means for them to obtain early release from an institution?
         Quarantine Requirement



         Transportation


         Reconsideration




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https://www.bop.gov/coronavirus/faq.jsp#hc_eligibility                                                                                                                            1/2
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